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               UNITED STATES DISTRICT COURT
          FOR THE SOUTHERN DISTRICT OF NEW YORK


   STATE OF NEW YORK et al.,

                       Plaintiffs,

                  v.
                                      Civil Action No. 1:20-cv-05583-AKH
UNITED STATES DEPARTMENT OF
HEALTH AND HUMAN SERVICS et
             al.,

                   Defendants.


BRIEF FOR AMICI CURIAE AMERICAN CANCER SOCIETY, AMERICAN
 CANCER SOCIETY CANCER ACTION NETWORK, AMERICAN HEART
 ASSOCIATION, AMERICAN LUNG ASSOCIATION, CANCER SUPPORT
   COMMUNITY, CANCERCARE, CYSTIC FIBROSIS FOUNDATION,
 EPILEPSY FOUNDATION, HEMOPHILIA FEDERATION OF AMERICA,
  NATIONAL COALITION FOR CANCER SURVIVORSHIP, NATIONAL
  MULTIPLE SCLEROSIS SOCIETY, NATIONAL ORGANIZATION FOR
 RARE DISORDERS, NATIONAL PATIENT ADVOCATE FOUNDATION,
     THE AIDS INSTITUTE, AND WOMENHEART: THE NATIONAL
  COALITION FOR WOMEN WITH HEART DISEASE IN SUPPORT OF
    PLAINTIFFS’ RENEWED MOTION FOR SUMMARY JUDGMENT
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                         INTEREST OF AMICI CURIAE1

      American Cancer Society (ACS), American Cancer Society Cancer Action

Network (ACS CAN), American Heart Association (AHA), American Lung

Association (ALA), Cancer Support Community (CSC), CancerCare, Cystic

Fibrosis Foundation (CFF), Epilepsy Foundation, Hemophilia Federation of

America (HFA), National Coalition for Cancer Survivorship (NCCS), National

Multiple Sclerosis Society (NMSS), National Organization for Rare Disorders

(NORD), National Patient Advocate Foundation (NPAF), The AIDS Institute, and

WomenHeart: The National Coalition for Women with Heart Disease

(WomenHeart) (collectively, Amici) represent millions of patients and consumers

across the country facing serious, acute, and chronic health conditions. Amici have

a unique perspective on what individuals and families need to prevent disease,

manage health, and cure illness—and a deep understanding of the harm that will

result if the 2020 Rule is left in place.

      ACS’s mission is to save lives, celebrate lives, and lead the fight for a world

without cancer. ACS CAN is the nonpartisan advocacy affiliate of ACS, working




1
 No counsel for a party authored this brief in whole or in part, and no party or
counsel for a party made a monetary contribution intended to fund its preparation
or submission. No person other than amici curiae or their counsel made a
monetary contribution to the preparation or submission of this brief.

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to reduce the burden of cancer across all communities, and striving for health

equity nationwide.

      AHA is the nation’s oldest and largest voluntary organization dedicated to

fighting heart disease and stroke and represents more than 40 million volunteers

and supporters. As a direct result of the 2020 rule, those individuals that AHA

represents will face discrimination or the threat of discrimination based on sex

stereotyping and gender identity, therefore lowering the quality of medical care

they receive and leading to worse health outcomes, especially as it pertains to

cardiovascular health.

      ALA is the nation’s oldest voluntary health organization, representing the

36.6 million Americans with lung disease in all 50 states and the District of

Columbia. Because all people with or at risk for lung cancer and lung diseases—

such as asthma, Chronic Obstructive Pulmonary Disease (COPD) and pulmonary

fibrosis—need access to quality health care to prevent or treat their disease, ALA

strongly supports increasing health equity nationwide.

      The CSC is the largest nonprofit provider of social and emotional support

services for people impacted by cancer, providing $50 million in free, personalized

services each year to individuals and families affected by cancer nationwide and

internationally.




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      CancerCare is the leading national organization providing free, professional

support services and information to help people manage the emotional, practical

and financial challenges of cancer.

      The CFF’s mission is to cure cystic fibrosis and to provide all people with

CF the opportunity to lead long, fulfilling lives by funding research and drug

development, partnering with the CF community, and advancing high-quality,

specialized care.    The CFF advocates for policies that promote access to

affordable, adequate health care for all people with cystic fibrosis.

      The Epilepsy Foundation is the leading national voluntary health

organization that speaks on behalf of more than 3.4 million Americans with

epilepsy and seizures. Uncontrolled seizures can lead to disability, injury, and

even death. Epilepsy medications are the most common and most cost-effective

treatment for controlling and/or reducing seizures—making timely access to

quality, affordable, physician-directed and person-centered care and effective

coverage for epilepsy medications vital for all people living with the epilepsies.

      HFA is a community-based, grassroots advocacy organization that assists,

educates, and advocates for people with hemophilia, von Willebrand disease, and

other rare bleeding disorders.     HFA works for patient access to quality and

affordable care and coverage—priorities that reflect the nature of bleeding

disorders as serious, life-long, and expensive health conditions.


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      NCCS was founded by and for cancer survivors and advocates for quality

cancer care for all people touched by cancer. NCCS opposed any effort to restrict

access to health care, particularly for vulnerable populations.

      The NMSS mobilizes people and resources so that everyone affected by

multiple sclerosis (MS) can live their best lives, while also seeking to end MS

forever. To fulfill this mission, the NMSS funds more MS research and provides

more programs for people with MS and their families than any other voluntary

health organization in the world. The NMSS works to ensure that all people with

MS have access to affordable high-quality health care.

      NORD, a 501(c)(3) organization, is a patient advocacy organization

dedicated to individuals with rare diseases and the organizations that serve them.

NORD, along with its more than 300 patient organization members, is committed

to the identification, treatment, and cure of rare disorders through programs of

education, advocacy, research, and patient services.

      NPAF is dedicated to elevating patient and caregiver voices as part of

improving equitable access to affordable quality care, particularly for our most

underserved populations. NPAF is the advocacy affiliate of Patient Advocate

Foundation (PAF), a national organization that provides direct assistance to

families coping with complex and chronic health conditions to help meet their

most pressing needs for financial and social services advocacy and support.


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      The AIDS Institute is a nonpartisan, nonprofit organization dedicated to

ensuring that all people living with, or at risk of, HIV, viral hepatitis, and other

chronic illnesses have access to the care and services they need.

      WomenHeart is a national patient-centered organization that supports,

educates and advocates for women living with and at risk of heart disease. Women

sometimes face sexism and discrimination in the health care system; WomenHeart

works to ensure that all people are treated fairly and without bias when seeking

health care.

      Amici are all deeply concerned about the effect the 2020 Rule will have on

the individuals and families they represent. As a direct result of the rule, many

individuals will face discrimination or the threat of discrimination, which will

delay access to timely treatment, lower the quality of medical care, and result in

poorer health outcomes.       Amici submit this brief to assist the Court in

understanding the nature and extent of this harm.

                                INTRODUCTION
      Discrimination on the basis of sex, gender identity, transgender status,

sexual orientation, national origin, language proficiency, and similar characteristics

has no place in our health care system. Such discrimination can be particularly

harmful for people suffering from chronic conditions, who often must rely on

health care providers and insurance for access to lifesaving treatments. Indeed,


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despite progress in treating chronic diseases like cancer or multiple sclerosis, not

all groups are benefitting from that progress. Discrimination of all kinds continues

to contribute to disparate outcomes from chronic diseases.              Eliminating

discrimination and the resulting barriers to care is critical for achieving better

health outcomes for the millions of patients and consumers Amici represent.

      Congress agrees.     It adopted section 1557 to protect individuals from

discrimination and to avoid the costs that follow when such discrimination

happens.    But the 2020 Rule undermines section 1557 by arbitrarily and

capriciously rolling back protections for lesbian, gay, bisexual, transgender, and

queer (LGBTQ) people and limited-English-proficient individuals. Amici thus

join plaintiffs in asking the Court to declare the 2020 Rule unlawful and enjoin its

enforcement.

                                  ARGUMENT

I.    NONDISCRIMINATION IN HEALTH CARE AND INSURANCE IS
      CRITICAL FOR LGBTQ INDIVIDUALS WITH CHRONIC
      DISEASES

      A.    LGBTQ People With Chronic Diseases Face Distinct Challenges
            Because Of Discrimination

      Nearly everyone will require health care at some point in their lives. See

Nat’l Fed. of Indep. Bus. v. Sebelius, 567 U.S. 519, 547 (2012). That fact is

apparent from looking at even just a subset of the diseases on which Amici focus:




                                         6
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          More than 1.8 million new cancer cases are expected to be diagnosed
           in the United States in 2020, while more than 16.9 million Americans
           are living with a history of cancer. Am. Cancer Soc’y, Cancer Facts
           & Figures 2020, at 1.2

          Roughly four out of ten Americans will develop cancer in their
           lifetimes. Id. at 2.

          An additional 121.5 million American adults are living with
           cardiovascular diseases, while 45.1% of Americans are projected to
           have some form of cardiovascular disease by 2035. Salim S. Virani et
           al., Heart Disease and Stroke Statistics—2020 Update, Am. Heart
           Ass’n (2020).3

          The lifetime risk for developing cardiovascular disease in those free of
           known disease at age 45 is almost two in three for men and greater
           than one in two for women. John T. Wilkins et al., Lifetime Risk and
           Years Lived Free of Total Cardiovascular Disease, 308 J. AM. MED.
           ASS’N 1795, 1798 (2012).

          Another 54 million Americans have arthritis; 36.6 million have some
           form of chronic lung disease; and 23.5 million suffer from
           autoimmune diseases, including nearly one million with multiple
           sclerosis (MS). Ctrs. for Disease Control & Prevention, Improving
           the Quality of Life for People With Arthritis 4 , Ctrs. for Disease
           Control & Prevention, 2017 National Health Interview Survey (2018)
           (analysis by ALA Epidemiology and Statistics Unit using SPPS
           Software); Nat’l Multiple Sclerosis Soc’y, MS Prevalence5; Nat’l Inst.
           of Env’t Health Scis., Autoimmune Diseases.6




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             Nearly one in five adults in the United States lives with a mental
              illness. Nat’l Inst. of Mental Health, Statistics.7

             Approximately 1.2 million Americans are living with HIV, a disease
              that requires lifetime medical care. Ctrs. for Disease Control &
              Prevention, HIV Surveillance Supplemental Report 2020 25:1 (2020)
              (Table 7).8

             According to the National Institutes of Health, 1 in 10 people are
              affected by a rare disease, and half of all people diagnosed with a rare
              disease are children. Nat’l Insts. of Health, Advancing Research on
              Rare Diseases at 1 (Feb. 2020).9

      The population of people with these chronic diseases includes many who

identify as LGBTQ. Am. Cancer Soc’y, Lesbian, Gay, Bisexual, Transgender,

Queer (LGBTQ) People with Cancer Fact Sheet (2020).10 Indeed, the LGBTQ

community has a disproportionate burden of some chronic illnesses, like cancer,

HIV, and heart disease. Gwendolyn P. Quinn et al., Cancer and Lesbian, Gay,

Bisexual,      Transgender/Transsexual,        and   Queer/Questioning      (LGBTQ)

Populations, 65:5 CA: A CANCER J. FOR CLINICIANS 384, 384-86 (2015); Ctrs. for

Disease Control & Prevention, Diagnoses of HIV Infection in the United States and

Dependent Areas, 2018 (Updated) 14 (2020) (reporting that approximately 70% of

new HIV diagnoses in 2018 were among gay and bisexual men); Yi Guo et al.,


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disparity in cardiovascular disease events for sexual and gender minority

people).11, 12, 13

       Despite the universal need for health care and the increased needs of those

with chronic diseases, LGBTQ people face distinct challenges in obtaining care

because of discrimination and the fear of discrimination. In one survey, 8% of

LGBQ respondents who had visited a health care provider in the past year said that

a doctor or health care provider had refused to see them because of their actual or

perceived sexual orientation. Shabab A. Mirza & Caitlin Rooney, Discrimination

Prevents LGBTQ People from Accessing Health Care, Ctr. for Am. Progress (Jan.

18, 2018).14 Nine percent said that a doctor or health care provider used harsh or

abusive language while treating them. Id. Other studies report similar results,

including that 12% of LGB people report that health care professionals blame them

for their health status. Lambda Legal, When Health Care Isn’t Caring: Lambda

Legal’s Survey of Discrimination Against LGBT People and People with HIV 11


11
   https://acsjournals.onlinelibrary.wiley.com/doi/pdf/10.3322/caac.21288.
12
   https://www.cdc.gov/hiv/pdf/library/reports/surveillance/cdc-hiv-surveillance-
report-2018-updated-vol-31.pdf.
13
   https://www.ahajournals.org/doi/full/10.1161/JAHA.120.018233?af=R.
14
   https://www.americanprogress.org/issues/lgbtq-rights/news/2018/01/18/445130/
discrimination-prevents-lgbtq-people-accessing-health-care/.

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(2010). 15 And the reported discrimination was even higher among transgender

people—29% reported that a doctor or health care provider had refused to see them

because of their actual or perceived gender identity; 23% had been intentionally

misgendered; and 21% said a doctor or provider had used harsh or abusive

language. Mirza & Rooney, supra.

      There is good reason to expect that LGBTQ people with chronic diseases are

even more likely to experience discrimination than these numbers reported for

LGBTQ people generally. Those with a chronic disease often must interact with

more health care providers on a more frequent basis. A 2016 study found that

55.5% of all doctor visits in the United States were related to one or more chronic

conditions. Rui P. Okeyode, Ctrs. for Disease Control & Prevention, National

Ambulatory Medical Care Survey:       2016 National Summary Tables Table 18

(2016).16 For example, even long after diagnosis and initial treatment, individuals

with a previous cancer diagnosis are more likely to have hospitalizations, ER

visits, ambulatory surgeries, and provider visits than those without. They thus

spend on average more than twice as long receiving health care in a year compared

to individuals without a previous cancer diagnosis.     K. Robin Yabroff et al.,


15
   https://www.lambdalegal.org/sites/default/files/publications/downloads/whcic-
report_when-health-care-isnt-caring.pdf.
16
   https://www.cdc.gov/nchs/data/ahcd/namcs_summary/2016_namcs_web_
tables.pdf.

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Annual Patient Time Costs Associated with Medical Care Among Cancer

Survivors in the United States, 52:7 MED CAR. 594, 597-99 (2014). Similarly,

individuals living with HIV must receive lifelong treatment from medical

providers to suppress the virus, treatment that helps maintain a healthy immune

system and prevent spread. Dep’t of Heath & Human Servs., Evidence of HIV

treatment and viral suppression in preventing the sexual transmission of HIV

(2018).17 For an LGBTQ person with one of these chronic conditions, every health

care visit comes with a risk of suffering discrimination from doctors or health care

providers. Mirza & Rooney, supra.

         B.    Discrimination In Health Care Harms LGBTQ People In Many
               Different Ways

         The harms from discrimination go beyond being denied health care. The

higher levels of stress related to discrimination and marginalization has led to

health behavioral issues and poor health outcomes. Guo, supra, at 1-2. Indeed,

those higher levels of stress can directly contribute to increased risk of chronic

disease like heart disease. Id. They also contribute to higher rates of tobacco,

alcohol, and drug use, as obesity, all of which increase the risks for various chronic

conditions. Id.




17
     https://www.cdc.gov/hiv/pdf/risk/art/cdc-hiv-art-viral-suppression.pdf.

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        When LGBTQ people experience bias, humiliation, or harsh treatment at the

hands of health care providers, they also can become alienated from the health care

system and reluctant to seek care at all. Lambda Legal, supra, at 12. In one

survey, roughly 29% of LGB respondents and 73% of transgender respondents felt

that medical personnel would likely treat them differently because of their sexual

orientation or gender identity. Id. Because of fears of discrimination from medical

personnel, 8% of LGBTQ people in another survey avoided or postponed medical

care.    Mirza & Rooney, supra.      That increased to 14% for those who had

experienced discrimination due to their sexual orientation or gender identity in the

past year.    Id.   The delayed or avoided medical care often includes critical

preventive services—for LGBTQ people who had experienced discrimination in

the past year, 17% reported delaying or avoiding seeking preventative screenings.

Id.; see Chioun Lee et al., The Association between Perceived Provider

Discrimination, Health Care Utilization, and Health Status in Racial and Ethnic

Minorities, 19 Ethnicity & Disease 330 (2009) (reporting that “[p]erceived

provider discrimination contributes to health disparities” and “delay” in seeking

care for other minority groups).

        Timely medical care and preventative screenings are vital for everyone,

including LGBTQ people with diagnosed or undiagnosed chronic diseases:

            The five-year survival rates for those diagnosed at later stages of
             cancer are significantly lower than the rates for those diagnosed when

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            their cancer is less advanced.   Am. Cancer Soc’y, Cancer Facts,
            supra, at 21.18

          Early treatment for multiple sclerosis is similarly critical. Multiple
           Sclerosis Coalition, The Use of Disease Modifying Therapies in MS:
           Principles and Current Evidence (2014; updated 2019).19 A growing
           body of evidence indicates that early and ongoing treatment with an
           FDA-approved disease-modifying therapy is the best way to manage
           the MS disease course, prevent accumulation of disability, and protect
           the brain from damage due to MS. Id. at 14-17. MS patients face a
           reduction in survival of between 8 to 12 years if they do not receive
           proper treatment. Id. at 5; see Daniel M. Hartung et al., Trends In
           Coverage for Disease Modifying Therapies in Multiple Sclerosis in
           Medicare Part D, 38 HEALTH AFFAIRS 303 (2019).

          Timely treatment for epilepsy is also critical to reduce the risk of
           accident, injury, or sudden unexpected death. C.E Belgley & T.L.
           Durgin, The direct costs of epilepsy in the United States: A systemic
           review of estimates, 56 EPILEPSIA 1376-87 (2015).

          Early detection and treatment of HIV is not only essential for people
           living with HIV, but it is also necessary to help stop HIV’s spread—
           80% of new HIV infections are the result of someone unaware of their
           status or not receiving treatment. Zihao Li et al., Vital Signs: HIV
           Transmission Along the Continuum of Care — United States, 2016, 68
           Morbidity & Mortality Weekly Report 267 (2019).20

          Untreated psychosis in individuals with mental illness “increases a
           person’s risk for suicide, involuntary emergency care, and poor
           clinical outcomes.” Vikki Wachino et al., Coverage of Early



18
   https://www.cancer.org/content/dam/cancer-org/research/cancer-facts-and-
statistics/annual-cancer-facts-and-figures/2020/cancer-facts-and-figures-
2020.pdf.
19
   https://www.nationalmssociety.org/getmedia/5ca284d3-fc7c-
4ba5-b005-ab537d495c3c/DMT_Consensus_MS_Coalition
_color.
20
   http://dx.doi.org/10.15585/mmwr.mm6811e1.

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             Intervention Services for First Episode Psychosis, 2 (Oct. 16, 2015).21
             In contrast, early intervention strategies have changed the trajectory of
             individuals’ lives, enabling people with serious mental illnesses to live
             in community settings and participate fully in family and community
             life. Id.

      C.     Preventing Discrimination Is Necessary To Improve Health
             Outcomes, Provide Better Preventative Care, And Increase
             Patient Satisfaction With Care

      Discrimination by health care providers also harms LGBTQ people because

it pressures them to stay closeted when seeking medical care, leading to worse

health outcomes for those with chronic diseases.          Many studies report that

discrimination can deter LGBTQ people from disclosing their sexual orientation or

gender identity to health care providers. Institute of Medicine, The Health of

Lesbian, Gay, Bisexual, and Transgender People: Building a Foundation for

Better Understanding 63 (2011); UC Davis Comprehensive Cancer Center, LGBT

Task Force Finds Disparities in Cancer Screening and Care (2012)22; Liz Hamel

et al., HIV/AIDS In the Lives of Gay and Bisexual Men in the United States, Kaiser

Family Foundation (2014). 23 That lack of disclosure can lead to worse care.

Gwendolyn P. Quinn et al., The Importance of Disclosure:              Lesbian, Gay,



21
   https://www.medicaid.gov/federal-policy-guidance/downloads/cib-10-16-
2015.pdf.
22
   https://health.ucdavis.edu/synthesis/issues/fall2012/lgbt-task-force-tackles-
disparities-in-cancer-screening-and-care.html.
23
   https://www.kff.org/hivaids/report/hivaids-in-the-lives-of-gay-and-bisexual-
men-in-the-united-states/.

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Bisexual, Transgender/Transsexual, Queer/Questioning, and Intersex Individuals

and the Cancer Continuum 121 CANCER 1160, 1161-62 (2015).24

         For example, lesbian women have multiple higher risk factors for breast

cancer than heterosexual women, such as higher smoking and obesity rates, greater

alcohol use, and never having completed a pregnancy; compared to straight men,

gay men have a higher prevalence of human papillomavirus, which is associated

with several types of cancer; and a transgender person requires screening for

different conditions than an individual whose gender identity conforms to the sex

they were assigned at birth.       Id.   Frequent HIV screening for gay men or

transgender persons similarly helps catch and treat HIV early and helps prevent

further spread of the disease. HIV Surveillance, supra at 7-8. Yet instead of

increased screening by health care providers for these various risks, one survey

found that LGBTQ respondents were less likely to receive proper screening—only

32% of female respondents had received recommended mammograms and nearly

half of respondents said their providers did not talk to them about their risks of

cancer or how to reduce them. UC Davis, supra. And more than half of gay and

bisexual men reported that a doctor has never recommended they get tested for

HIV, even though they account for the overwhelming majority (70%) of new



24
     https://acsjournals.onlinelibrary.wiley.com/doi/epdf/10.1002/cncr.29203.

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cases. Liz Hamel et al., supra at 16;25 Ctrs. for Disease Control & Prevention,

Diagnoses of HIV Infection, supra. LGBTQ people also experience higher rates of

mental health disorders, rates that are at least partly attributable to the excess stress

they experience because of discrimination.             Wendy B. Bostwick et al.,

Discrimination and Mental Health Among Lesbian, Gay and Bisexual Adults in the

United States, 84 AM. J. ORTHOPSYCHIATRY 35-45 (2014).26

      Such discrimination contributes to LGBTQ people’s documented lower

patient satisfaction. Patient satisfaction is an important metric for health care

providers that depends on many factors, including effective and clear

communication between health care providers and patients, a safe environment of

mutual respect that lets patients disclose information, and support by providers that

empowers patients to participate in their own treatment, such as by choosing

among different options. Jennifer Jabson & Charlie S. Kamen, Sexual Minority

Cancer Survivors’ Satisfaction with Care 34:1-2 J. PSYCHOSOC. ONCOL. 28, 28-30

(2016). Patient satisfaction positively correlates with better health outcomes—

patients who report better satisfaction with their overall experience are more likely

to complete prescribed treatment and follow care provider recommendations. Id.;



25
   https://www.kff.org/hivaids/report/hivaids-in-the-lives-of-gay-and-bisexual-
men-in-the-united-states/.
26
   https://doi.apa.org/doiLanding?doi=10.1037%2Fh0098851.

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Ashish K. Jha et al., Patients’ Perception of Hospital Care in the United States,

359 NEW ENG. J. MED. 1921, 1925-26 (2008).27

        But unsurprisingly, discrimination against LGBTQ patients lowers their

satisfaction level. Jabson, supra, at 28-30; Joseph B. Clift & J. Kirby, Health Care

Access and Perceptions of Provider Care Among Individuals in Same-Sex

Couples: Findings From the Medical Expenditure Panel Survey (MEPS), 59 J.

HOMOSEXUALITY 839, 839-40 (2012). For example, one study found that gay and

bisexual men were almost twice as likely as heterosexual men (12% versus 7%) to

report lower satisfaction with medical care, including reporting that doctors did not

show them respect and did not spend enough time with them. Clift & Kirby,

supra, at 840-42.     Another study showed similar results, finding across all

measured satisfaction items that LGB cancer survivors reported lower satisfaction

with care than heterosexual cancer survivors. Jabson & Kamen supra, at 35-38.

        Prohibiting medical providers from discriminating on the basis of sexual

orientation or gender identity must be part of the solution to these many harms

suffered by LGBTQ people with chronic conditions. Telling LGBTQ patients to

avoid the harm by finding another provider is not an adequate answer. Many

chronic conditions require specialized care, and in some regions there may be only

one or two providers with the necessary expertise. Thus, one survey found that

27
     https://www.nejm.org/doi/pdf/10.1056/NEJMsa0804116.

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“18 percent of LGBTQ people said it would be ‘very difficult’ or ‘not possible’ to

find the same type of service at a different hospital,” and 17% said the same about

finding service at a different community health center or clinic. Mirza & Rooney,

supra.        Even if an alternative provider exists, finding one can delay critical

treatment for chronic conditions or deter LGBTQ people from receiving or

completing the treatment they need. Supra at pp. 11-14.

         Given the discrimination that many LGBTQ people face in health-care

settings, it is critical that the protections Congress adopted in Section 1557 stay in

place.

II.      NONDISCRIMINATION IN HEALTH CARE AND INSURANCE IS
         ESSENTIAL FOR PATIENTS WITH LIMITED ENGLISH
         PROFICIENCY WHO HAVE CHRONIC DISEASES

         For similar reasons, the 2020 Rule’s unlawful removal of critical protections

for individuals with limited English proficiency (LEP) would wreak serious harm,

especially on those individuals suffering from chronic diseases. This harm is yet

another reason to enjoin the 2020 Rule.

         A.      Patients With Limited English Proficiency Face Many Barriers
                 To Receiving Quality Health Care, Especially When They Have A
                 Chronic Disease

         As the Department of Health and Human Services itself has recognized,

“individuals with limited English proficiency experience barriers to receiving

regular and adequate health care.”              Dep’t of Health & Human Servs.,


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Nondiscrimination in Health Programs and Activities, 81 Fed. Reg. 31376, 31459

(May 18, 2016) (previously codified at 45 C.F.R. pt. 92). More than 25 million

U.S. residents qualify as limited English proficient persons, meaning they speak,

read, or write English less than “very well.” U.S. Census Bureau, Language

Spoken at Home, American Community Survey 2018 1-Year Estimates Subject

Tables, tbl. S1601 (2018).28 When those individuals need health care, they must

contend with the challenges of both communicating their own condition and

understanding    the   treatments    prescribed   by    health   care   providers.

Nondiscrimination in Health Programs and Activities, 81 Fed. Reg. at 31459.

      Studies confirm the severity of these challenges. For instance, one study

found that people with limited English proficiency have “greater gaps in their

understanding of their coverage,” which can lead to under-utilization of services

like preventative care. Samantha Artiga et al., The Role of Language in Health

Care Access and Utilization for Insured Hispanic Adults, Kaiser Family

Foundation (2015).29 In another study comparing English-speaking and limited-

English-proficient patients, limited-English-proficient patients had “[l]onger

hospital stays when professional interpreters were not used at admissions and/or

discharge”; “[g]reater risk of surgical delays due to difficulty understanding

28
  https://data.census.gov/cedsci/table?q=S1601&tid=ACSST1Y2018.S1601.
29
  https://www.kff.org/report-section/the-role-of-language-in-health-care-access-
and-utilization-for-insured-hispanic-adults-issue-brief/.

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instructions, including how to prepare for a procedure”; and “[g]reater chance of

readmissions for certain chronic conditions due to difficulty understanding how to

manage their conditions and take their medications.”          The Joint Comm’n,

Overcoming the Challenges of Providing Care to LEP Patients, Quick Safety, May

2015 at 1.30

      B.       Language Barriers Threaten Substantial Harm To Limited-
               English-Proficient Patients With Chronic Diseases

      These barriers to adequate care can become a matter of life and death for

limited-English-proficient individuals with chronic conditions.      As explained,

those with a chronic disease often must interact with more health care providers on

a more frequent basis than those without. Supra at pp. 10-11. For someone with

limited English proficiency, every one of those interactions comes with the risks of

miscommunications and misunderstandings because of language barriers.             It

should thus come as no surprise that people with limited English proficiency have

disproportionately lower rates of cancer screening than English-proficient patients.

Jennifer L. Ridgeway et al., Closing the Gap: Participatory Formative Evaluation

to Reduce Cancer Screening Disparities among Patients with Limited English




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  https://www.jointcommission.org/resources/news-and-
multimedia/newsletters/newsletters/quick-safety/quick-safety--issue-13-
overcoming-the-challenges-of-providing-care-to-lep-patients/overcoming-the-
challenges-of-providing-care-to-lep-patients/.

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Proficiency, J. CANCER EDUC. (Feb. 12, 2020). 31 Although colorectal cancer is

largely preventable and highly treatable with early detection, it is the second-

leading cause of cancer for Asian American/Pacific Islander men. Tetine Sentell et

al., Colorectal Cancer Screening:       Low Health Literacy and Limited English

Proficiency Among Asians and Whites in California, 18 (Suppl.) J. HEALTH

COMMUN. 242 (2013).32 Yet individuals with limited English proficiency in that

group are far less likely to receive essential screening. Id.

      The same goes for breast cancer patients with limited English proficiency—

one study found that “language was the greatest barrier to understanding

information and making treatment-related decisions.” Sunmin Lee et al., What is

Lacking in Patient-Physician Communication: Perspectives from Asian American

Breast Cancer Patients and Oncologists, 1 J. BEHAV. HEALTH 102, 102 (2012).33

Another found that women with limited English proficiency reported fewer

screening mammograms and fewer benign lumps removed. Jose L. Cataneo et al.,

Disparities in Screening for Breast Cancer Based on Limited Language

Proficiency, 231 (Suppl.) J. AM. COLL. SURG. S36, S36-37 (2020). And language

barriers interfere with more than just the specialized care needed for many chronic

conditions. They also often disrupt basic medical care, “decreas[ing] access to

31
   https://pubmed.ncbi.nlm.nih.gov/32052262/.
32
   https://www.ncbi.nlm.nih.gov/pmc/articles/PMC3815112/.
33
   https://www.ncbi.nlm.nih.gov/pmc/articles/PMC3566873/.

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primary and preventive care” for those who speak English less than very well.

Elisabeth Wilson et al., Effects of Limited English Proficiency and Physician

Language on Health Care Comprehension, 20 J. GEN. INTERNAL MED. 800

(2005).34

      Communication challenges also threaten to harm limited-English-proficient

individuals with a mental illness.     Limited-English-proficient persons’ mental

health concerns “are more likely to go unnoticed by primary care providers,” and

even when they are noticed, the ensuing care is often “poorer quality.” Maria E.

Garcia et al., Collaborative Care for Depression among Patients with Limited

English Proficiency: A Systematic Review, 33 J. GEN. INTERNAL MED. 347, 347
          35
(2017).        Those results are particularly troubling because identity-based

victimization, such as discrimination because of an individual’s limited English

proficiency or culture, can lead to “a higher risk” of “poor mental health.” Maggi

Price et al., The intersectionality of identity-based victimization in Adolescence: A

person-centered examination of mental health and academic achievement in a U.S.




34
  https://www.ncbi.nlm.nih.gov/pmc/articles/PMC1490205/.
35
  https://www.ncbi.nlm.nih.gov/pmc/articles/PMC5834967/pdf/11606_2017_Artic
le_4242.pdf.

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high school, 76 J. ADOLESCENCE 185, 185 (2019) (describing effect of

discrimination on children).36

      Nor does the harm stop with limited-English-proficient individuals

themselves: two large studies of children with asthma and one of children with

diabetes found that limited-English-proficient “parents reported worse health status

and quality of life for their children than [English-proficient] parents.” Monica

Eneriz-Wiemer et al., Parental Limited English Proficiency and Health Outcomes

for Children With Special Health Care Needs: A Systematic Review, Academic

Pediatrics, March-April 2014 at 128, 131. Limited-English-proficient parents were

also “more likely than English-proficient parents to report poorer knowledge and

self-efficacy in managing their child’s chronic condition,” while at the same time

being less likely “to report being taught how to manage their child’s chronic

condition by health care providers.” Id.

      C.     The 2020 Rule Would Exacerbate The Harms To Limited-
             English-Proficient Patients With Chronic Diseases

      Despite these recognized risks, the 2020 Rule would eliminate requirements

to notify patients with limited English proficiency of their rights and the

availability of language assistance. The Department itself recognized that patients

who know about and use reliable language assistance services “experience

36
  https://www.sciencedirect.com/science/article/abs/pii/S0140197119301538?
via%3Dihub.

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treatment-related benefits,” including “enhanced understanding of physician

instruction, shared decision-making, provision of informed consent, adherence

with medication regimes, preventive testing, appointment attendance, and follow-

up compliance.” Nondiscrimination in Health Programs and Activities, 81 Fed.

Reg. at 31459; Brian D. Smedley et al., Institute of Medicine, Unequal Treatment:

Confronting Racial and Ethnic Disparities in Health Care 142, 191 (2003).

Numerous commenters on the proposals that led to the 2020 Rule identified similar

benefits from proper notice about language services and patient rights. Am. Heart

Assoc., Comment Letter on Proposed Rule on Nondiscrimination in Health

Programs and Activities 9-10 (Aug. 13, 2019) 37 ; Am. Acad. of Pediatrics,

Comment Letter on Proposed Rule on Nondiscrimination in Health Programs and

Activities 6 (Aug. 13, 2019)38; WomenHeart: The National Coalition for Women

with Heart Disease et al., Comment Letter on Proposed Rule on Nondiscrimination

in Health Programs and Activities 13-15 (Aug. 13, 2019).39

      The 2020 Rule’s elimination of protections for limited-English-proficient

individuals would also exacerbate other types of discrimination. LGBTQ people

who also have limited English proficiency will be harmed twice over—at the same


37
   https://www.regulations.gov/document?D=HHS-OCR-2019-0007-138871.
38
   https://www.regulations.gov/document?D=HHS-OCR-2019-0007-139520.
39
   https://rarediseases.org/wp-content/uploads/2019/08/NORD-2019-HCRL-1557-
Patient-Coalition-Comments-FINAL-8.13.2019.pdf.

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time that they lose protections against discrimination for being LGBTQ, they will

also lose access to information about their rights, how to protect themselves, and

who they can turn to for help. For all these reasons, it is critical that the Court

preserve the protections Congress enacted.

                                  CONCLUSION

       For these reasons, Amici ask that the Court grant the plaintiffs’ motion.

Dated: December 9, 2020                    Respectfully submitted,


                                           /s/ Joseph R. Palmore
                                           JOSEPH R. PALMORE (JP7646)
                                           SETH W. LLOYD
                                           MORRISON & FOERSTER LLP
                                           2100 L St., NW
                                           Washington, DC 20037
                                           Telephone: (202) 887-6940
                                           JPalmore@mofo.com

                             Counsel for Amici Curiae



ny-2028429




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